     Case 4:09-cv-00326 Document 14 Filed on 08/06/09 in TXSD Page 1 of 8




                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

KATHERINE BLUMMER.                        §
            Plaintiff,                    §
                                          §
v.                                        §             CIVIL ACTION H-09-0326
                                          §
UNITED SPACE ALLIANCE, LLC                §
             Defendant.                   §

                                       ORDER

         This disability discrimination case is before the court on defendant United

Space Alliance’s (“USA’s”) motion to compel. (Dkt. 10.) Plaintiff Katherine

Blummer has filed a response. (Dkt. 13.) For the following reasons, the court

denies the motion.

                                    Background

         Blummer is a twenty-nine year old woman who suffers from McCune-

Albright Syndrome, a chronic disorder that causes bone deformity and brittleness.

Because of the syndrome, Blummer frequently fractures her right femur and is

severely limited in her ability to stand or walk.

         From May to November 2007, Blummer worked as an aerospace engineer

for USA. She claims that USA refused her requests for reasonable accommodation

and eventually fired her because of her disability.

         After she was fired, Blummer filed discrimination charges with the Equal

Employment Opportunity Commission and the Texas Workforce Commission and
     Case 4:09-cv-00326 Document 14 Filed on 08/06/09 in TXSD Page 2 of 8




received right to sue letters from both agencies. She then filed this lawsuit against

USA, alleging violations of the Americans with Disabilities Act and the Texas Labor

Code.

         Two of USA’s requests for production and one interrogatory are at issue in

this motion to compel. In Request for Production #10, USA asked Blummer to

produce all of her income tax returns and W-2s from 2003 to 2008. In Request for

Production #21, USA requested Blummer to sign releases so that it can obtain the

her (1) employment records, (2) IRS records, (3) medical, psychiatric,

psychological, and counseling records, (4) Texas Department of Human Services

records, (5) Social Security disability records, and (6) Social Security earnings

records. Some of the releases authorize USA to obtain this information going back

ten years. Finally, in Interrogatory #2, USA asked Blummer to state whether she

or her attorneys had spoken with various people who might have knowledge about

the claims made in her lawsuit.

                                      Analysis

1.       Blummer does not have to produce her income tax returns

         Because income tax returns contain private information, parties may not be

compelled to produce them unless the returns contain information (1) relevant to

the lawsuit and (2) not readily obtainable elsewhere.         See, e.g., Gattegno v.

PricewaterhouseCoopers, LLP, 205 F.R.D. 70, 71-72 (D. Conn. 2001).


                                          2
     Case 4:09-cv-00326 Document 14 Filed on 08/06/09 in TXSD Page 3 of 8




         USA seeks Blummer’s tax returns in order to discover her present earnings

and her past earnings while at the company, which are relevant to the issue of

damages.1 Blummer does not dispute that her earnings are relevant. Instead, she

argues that she does not need to produce her tax returns because she has already

given USA her earnings information in the form of pay stubs and W-2s.

         The court agrees. Because Blummer’s earnings are “readily obtainable” from

her W-2s and pay stubs, she need not turn over her tax returns to USA. See, e.g.,

E.E.O.C. v. Ceridian Corp., 610 F. Supp. 2d 995, 997 (D. Minn. 2008) (“[I]f the

party offers to show its earnings through tax forms such as W-2s and 1099s, then

disclosure of complete returns is not necessary.”); Gattegno, 205 F.R.D. at 74;

Terwilliger v. York Int’l Corp., 176 F.R.D. 214, 218 (W.D. Va. 1997).

2.       Blummer does not have to sign any of the releases

         USA’s requested releases are overbroad, seek irrelevant information, or seek

duplicative information. Consequently, Blummer need not sign any of them.

         a.    IRS records

         As just discussed, USA has access to Blummer’s job earnings information

from her W-2s and pay stubs. This obviates any need for USA to see Blummer’s

IRS records, which are relevant only on the issue of damages.



         1
         Though USA seeks Blummer’s tax returns going all the way back to 2003, the court
cannot see how Blummer’s earnings before her employment with USA in 2007 are relevant to this
case.

                                             3
 Case 4:09-cv-00326 Document 14 Filed on 08/06/09 in TXSD Page 4 of 8




      b.        Social Security earnings records

      Blummer’s social security earnings for the past ten years, if any, are

irrelevant. If Blummer was wrongfully terminated because of her disability, she

will be entitled to compensatory damages in the form of back and front pay from

USA. Any disability payments Blummer has received in the past ten years do not

affect the amount of back or front pay to which she may be entitled.

      c.        Employment records

      Blummer’s employment records are arguably relevant because they could

reveal the extent to which other employers have or have not accommodated

Blummer’s disability. That information could help determine whether USA’s

accommodations, if any, were reasonable.

      But the relevance of Blummer’s employment records diminishes with the

passage of time; records from many years ago are unlikely to be probative of how

much accommodation Blummer’s disability may have required in 2007. Moreover,

most of Blummer’s employment records will not speak to her disability at all but

rather irrelevant matters such as her earnings before her employment with USA.

USA’s proposed employment records release, which is unlimited in time and scope,

is overbroad.

      d.        Texas Department of Human Services and Social Security disability
                records

      Blummer’s Texas Department of Human Services records and Social Security

                                         4
  Case 4:09-cv-00326 Document 14 Filed on 08/06/09 in TXSD Page 5 of 8




disability records are arguably relevant because they may shed light on the extent

of her disability. But, as with USA’s employment records release, these releases are

too broad. The Texas Department of Human Services release would allow USA to

look at Blummer’s entire case record with no limits on time or scope. The social

security release would permit USA to access all of Blummer’s medical records filed

with the Social Security Administration in the past ten years. The court will not

force Blummer to authorize the release of all of this medical information when USA

can make far more narrowly tailored requests.

       e.     Medical, psychiatric, psychological, and counseling records

       Blummer’s medical records, of course, are relevant to the extent that they

bear upon her disability. But again, USA’s release, which would allow it to access

all of Blummer’s medical records for the past ten years, is facially overbroad.

       As for Blummer’s psychiatric, psychological, and counseling records, the

parties dispute their relevance. USA argues that evidence of Blummer’s mental

condition is relevant because she seeks mental anguish damages.           Blummer

counters that merely asking for mental anguish damages does not permit the

discovery of these records, particularly when she does not intend to present any

expert testimony of her mental condition at trial.

       USA has the better of this argument. Courts have almost universally held

that, when a plaintiff seeks mental anguish damages, the defendant is entitled to


                                         5
  Case 4:09-cv-00326 Document 14 Filed on 08/06/09 in TXSD Page 6 of 8




discover medical evidence to find out if causes other than the defendant’s alleged

wrong caused the plaintiff’s mental anguish. See, e.g., Moore v. Chertoff, No. 00-

953, 2006 WL 1442447, at *2 (D.D.C. May 22, 2006) (collecting cases); Gatewood

v. Stone Container Corp., 170 F.R.D. 455, 460 (S.D. Iowa 1996). This is so even if

the plaintiff represents that she will not present any expert medical testimony at

trial.2 See Moore, 2006 WL 1442447, at *2.

        But once again, USA’s requested release—which seeks Blummer’s

psychological records for the past ten years, not just for the period immediately

surrounding and after her discharge—is far too broad. See Gatewood, 170 F.R.D.

at 460 (“[T]he temporal scope of a discovery request for medical and mental health

information should be appropriately limited.”). Accordingly, Blummer need not

sign the release.




        2
          Blummer heavily relies on Burrell v. Crown Central Petroleum, Inc., 177 F.R.D. 376 (E.D.
Tex. 1997) for the proposition that medical records showing a plaintiff’s mental condition are
not discoverable simply when the plaintiff claims mental anguish damages. But the Burrell court
held only that such records are not subject to disclosure under the mandatory disclosure
requirements of Rule 26(a) or the Eastern District of Texas’s local initial disclosure rules. Id. at
385. It did not hold that such medical records can never be discovered under Rule 26(b), which
allows parties to request discovery of any nonprivileged matter as long as it is “relevant.” Several
other courts have distinguished Burrell on this basis, see, e.g., Merrill v. Waffle House, Inc., 227
F.R.D. 467, 473 (N.D. Tex. 2005), and today this court joins them.
         The court is also not persuaded by Blummer’s argument that USA may not discover these
records because the Fifth Circuit allows plaintiffs to recover mental anguish damages without
expert testimony. See, e.g., Migis v. Pearle Vision, Inc., 135 F.3d 1041, 1047 (5th Cir. 1998). The
fact that a plaintiff can recover mental anguish damages without expert medical testimony does
not mean a defendant cannot discover medical evidence concerning the plaintiff’s alleged mental
anguish.

                                                 6
     Case 4:09-cv-00326 Document 14 Filed on 08/06/09 in TXSD Page 7 of 8




3.       Blummer does not have to answer Interrogatory #2

         In Interrogatory #1, USA asked Blummer to name all persons who might

have knowledge of any of the “events, allegations, claims, and causes of action”

made in her lawsuit. In Interrogatory #2, USA asked Blummer whether she or any

of her attorneys had talked with any of the persons identified in Interrogory #1.

Blummer refused to answer Interrogatory #2 on the grounds that it sought

information protected by the work product doctrine.

         Courts have split on the issue of whether identifying individuals an

opposing party’s attorney has spoken with violates the work product doctrine. See

In re Hardwood P-G, Inc., 403 B.R. 445, 469-70 (Bankr. W.D. Tex. 2009)

(discussing the split). Some courts have held that revealing the identity of an

opposing party’s interviewees violates the work product privilege because it

“reveals that party’s litigation strategy.” Id. at 470 (collecting cases). Others have

held that “the work product doctrine does not shield the identity of persons

interviewed by the opposing party if those persons have knowledge of relevant

facts.” Id. (collecting cases).

         Several courts have struck a balance between these two positions by

distinguishing between interrogatories that ask for the identity of persons with

knowledge of relevant facts (which are permissible) and interrogatories that ask

for the identity of persons who have been interviewed by the opposing party’s


                                          7
  Case 4:09-cv-00326 Document 14 Filed on 08/06/09 in TXSD Page 8 of 8




counsel (which violate the work product doctrine). Id. at 470-71. Whereas the

former type of interrogatory reveals only underlying facts, the latter type reveals

       the potential for significant insights into the . . . lawyers’ preparation
       of their case (and thus their mental processes). . . . [T]he disclosure
       of all persons interviewed, when coupled with the . . . inevitable
       disclosure of which of them were anticipated witnesses (and
       therefore which were not), would teach the opponent just which
       interviewees’ information was viewed as gold and which as dross. It
       would teach the shape of the discovered party’s case as surely as the
       shape of a container teaches the shape of the gas within.

American Floral Servs., Inc. v. Florists’ Transworld Delivery Ass’n, 107 F.R.D. 258,

261 (N.D. Ill. 1985).

       The court finds this distinction persuasive. In her answer to Interrogatory

#1, Blummer gave USA the identities of people who might have knowledge of the

issues in the underlying lawsuit. Requiring her to also reveal the identities of

people her counsel has interviewed would run too great a risk of informing USA

about her counsel’s litigation strategy. Blummer need not answer Interrogatory #2

because it might reveal information protected by the work product doctrine.

                                     Conclusion

       For the foregoing reasons, the court denies USA’s motion to compel. Each

party is to bear its own costs.

       Signed at Houston, Texas on August 6, 2009.




                                           8
